Case 5:19-cr-00086-H-BQ      Document 36       Filed 11/25/19     Page 1 of 1      PageID 94



                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              LUBBOCKDIVISION

 LINITED STATES OF AMERICA,
    Plaintiff,

                                                         NO. 5:19-CR-086-02-H

 MIGUEL ANGEL SANCHEZ, JR.
   Defendant.


            ORDER ACCEPTING REPORT AND RECOMMENDATION
               OF THE f'NTfED STATES MAGISTRATE JUDGE
                     CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$ 636OX1), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

       Sentence will be imposed in accordance with the Court's scheduling order.

       SO ORDERED.
                            --
       DatedNovember L\ ,20t9



                                           J             LEY HENDRIX
                                                     STATES DISTRICT JUDGE




                                                                                               \/nl
